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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JOHN SHERMAN,                                    Case No. 21-cv-05950-HSG
                                   8                    Plaintiff,                        JUDGMENT
                                   9             v.

                                  10     LAKE COUNTY JAIL, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          For the reasons set forth in the Order of Dismissal, this action is DISMISSED without

                                  14   prejudice. The Clerk shall enter judgment in favor of Defendants, terminate all remaining motions

                                  15   as moot, and close the case.

                                  16          IT IS SO ORDERED AND ADJUDGED.

                                  17   Dated: 10/4/2021

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                                                                                      HAYWOOD S. GILLIAM, JR.
                                  19                                                  United States District Judge
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